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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JANE DOE,

                       Plaintiff,                  Case No. 13-cv-4515
               v.
                                                   Judge Robert W. Gettleman
NORTHWESTERN UNIVERSITY d/b/a
FEINBERG SCHOOL OF MEDICINE, et al.,               Magistrate Judge Jeffrey T. Gilbert

                       Defendants.

                                STIPULATION OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff Jane Doe and Defendant The McGaw

Medical Center of Northwestern University, by and through their counsel, hereby stipulate to the

dismissal without prejudice of The McGaw Medical Center of Northwestern University as a

party-defendant in this action, with each party to bear her or its own costs and fees. This

stipulation has been signed by all parties who have appeared in this action.


JANE DOE                                             THE McGAW MEDICAL CENTER OF
                                                     NORTHWESTERN UNIVERSITY

By:/s/Jason J. Bach                                  By:/s/ Scott L. Warner
One of Her Attorneys                                 One of Its Attorneys

Jason J. Bach                                        Scott L. Warner
The Bach Law Firm, LLC                               Franczek Radelet P.C.
6053 S. Fort Apache Road, Suite 130                  300 S. Wacker Drive, Suite 3400
Las Vegas, Nevada 89148                              Chicago, Illinois 60606
(720)925-8787                                        (312) 986-0300
jbach@bachlawfirm.com                                slw@franczek.com

Dated: October 16, 2013                              Dated: October 16, 2013
